Case 1:19-cv-20121-JLK Document 5 Entered on FLSD Docket 01/11/2019 Page 1 of 2



                               UN ITED STATES DISTR ICT COURT
                               SOUTHERN D ISTRICT OF FLORID A

                                  CA SE N O .:1:19-cv-20121-JLK

   W ARRIOR TRADIN G ,IN C.,a D elaware
   corporation;and RO SS CA M ERON ,an individual,

          Plaintiffs,

   VS.

   DA VID JA FFEE,individually,orin concert
   with an unknown entity,doing
   businessast'BestStock Strategy'',

          D efendants.
                                                    /

               ORDER GM NTING PLAINTIFFS'EXPEDITED M OTION FOR
                       TEM POM RY RESTRAINING ORDER
          THIS PRO CEED ING cam e before the Court upon Plaintiffs' Expedited M otion for

   TemporaryRestrainingOrder(DE           (EçM otion''),Assetforth intheMotion,Plaintiffsseek a
   tem porary restraining order requiring D efendants,and any others acting in concertwith them ,to

   rem ove a11 false and defam atory statem ents about Plaintiffs from the ttBest Stock Strategy''

   YouTube Channeland or elsew here that they have published false and defam atory statem ents

   aboutPlaintiffs.

          The Courtreviewed the M otion and the record,and upon consideration ofthe argum ents

   andtheevidencesubmitted,findsthattheM otion iswelltaken andishereby GR ANTED.

          The Courtfindsthatbased upon the facts ofthe Verified Com plaintand the M otion,the

   Plaintiffshave m etthe standard fora tem porary restraining order withoutnotice pursuantto Rule

  65(b)ofthe FederalRules ofCivilProcedure. Plaintiffshave shown that (1)they have a
   substantiallikelihoodofsuccessonthemerits;(2)thattheywillsufferirreparableinjuryunless
  theinjunctionissues'
                     ,(3)thatthethreatenedinjurytothemovantoutweighswhateverdamagethe
Case 1:19-cv-20121-JLK Document 5 Entered on FLSD Docket 01/11/2019 Page 2 of 2




    proposedinjunction may causetheopposingparty;and(4)ifissued,theinjunctionwouldnotbe
    adverse to the public interest. Specifically, Plaintiffshavedemonstratedthatabsentinjunctive

    relief,Plaintiffswillcontinue to sufferirreparable injury in the form ofbusinessreputational
    dam ages and loss ofgood will. Accordingly,Plaintiffsareenti
                                                               tled to apreliminary injunction
   againstDefendantand those acting in concertwith him .

            D efendant,and al1othersacting in concertw ith him , and any others with actualnotice of

   this order are directed im m ediately to rem ove the videos on Best Stock Strategy's You-
                                                                                           fube

   channel titled, ltlaive Trading and Day Trading is a Scam & Fraud'', published on or about

   November3,2018 (stFirstVideo'')and videotitled,StW aniorTrading SCAM & FRAUD Ross
   Cameronscam FAKE REVIEW S''(issecondVideo''),published on oraboutNovember7, 2018
   as wellas a1l associated com m ents and content. D efendant is further directed im m ediately to

   rem ove from YouTube orfrom any otherpublic orprivate forum , socialor otherm edia,any and

   allre-publication ofthe FirstV ideo and Second Video, or any statem ents sim ilar to those m ade

   in them . Plaintiffsarenotrequired to postabond.

           Thisorderisissuedthis 11 day of-January 2019at)l:
                                                          ,4C                   .
                                                                                m.Thisorderis
   issued without notice because Plaintiffs' counsel dem onstrated sufficient efforts m ade to give

  notice to Defendantand dem onstrating w hy such notice should notbe required, including that

  Defendantdid notcomply w ith priordem andsto cease and desistin his defam ation. This Order

  shallremain in fullforce and effectuntilfourteen (14)daysafterissuanceofthisOrderand may
  be extended by this Courtforgood cause.

           TheM otion forPreliminaryInjunctionishereby setforhearing at'* :              m .on the
                                                                                         .



  dateofJanuary lr ,2019inthisCourt       .



           IT IS SO ORD ERED.

                                                                 #zJ                 k
                                                  ITED STA TES D ISTRICT JUD
  #7106037 v3
